           Case 1:18-cr-00282-VEC Document 267 Filed 01/12/21      USDCPage
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UNITED STATES DISTRICT COURT                                       DATE FILED: 1/12/2021
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X
 UNITED STATES OF AMERICA,                                    :
                                                              :
                 -against-                                    : 18-CR-282 (VEC)
                                                              :
 LUIS SOTO,                                                   :     ORDER
                                                              :
                                          Defendant.          :
 ------------------------------------------------------------ X
VALERIE CAPRONI, United States District Judge:

       WHEREAS this case has been remanded for limited resentencing on Count III, Dkt. 266;

       IT IS HEREBY ORDERED that the resentencing will be held on Thursday, January

28, 2021, at 11:00 A.M.

       IT IS FURTHER ORDERED that due to the rising number of COVID-19 cases in New

York City, the Court prefers to hold the resentencing by video conference using the Court Call

platform. An order with additional details about the Court Call platform will be entered a few

days before the sentencing.

       IT IS FURTHER ORDERED that Mr. Soto must either notify the Court that he does not

consent to appearing by way of video or file a waiver of in person appearance by no later than

Tuesday, January 19, 2021.

       IT IS FURTHER ORDERED that any sentencing submissions are due no later than

Friday, January 22, 2021.



SO ORDERED.
                                                    _________________________________
Date: January 12, 2021                                    VALERIE CAPRONI
      New York, NY                                        United States District Judge
